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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION
___________________________________________________________________________

CARLA JONES,                        )
                                    )
Plaintiff,                          )
                                    )
v.                                  )     Case No. 2:21-CV-02490-SHM-tmp
                                    )
ALLIANCE HEALTHCARE                 )
SERVICES, INC.,                     )
                                    )
Defendant.                          )
____________________________________________________________________________

                    ORDER OF DISMISSAL WITHOUT PREJUDICE



       Before the Court is the parties’ March 1, 2022 stipulation of dismissal (D.E. 24).

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and the parties’ stipulation, this

action is DISMISSED WITHOUT PREJUDICE, with each party bearing that party’s own

attorney’s fees and costs.

       IT IS SO ORDERED this 2nd day of March, 2022.



                                            /s/ Samuel H. Mays, Jr.
                                           SAMUEL H. MAYS, JR.
                                           UNITED STATES DISTRICT JUDGE
